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                                                                                         United States District Court
                                                                                           Southern District of Texas

                                                                                              ENTERED
                                                                                           February 15, 2022
                        IN THE UNITED STATES DISTRICT COURT                                Nathan Ochsner, Clerk

                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                )
JANICE HUGHES BARNES, et al.                    )
                                                )
 Plaintiffs,                                    )
                                                ) Case No. 4: 18-CV-725
 V.                                             ) The Honorable Alfred H. Bennett
                                                ) U.S. DistrictJudge
 ROBERTO FELIXJR., et al.                       )

 Defendants.                                    )
                                                )

                                              ORDER


        Upon consideration of Plaintiffs' Motion for Clarification or, in the Alternative, Rule 59(e)

Motion to Amend the Court's March 31, 2021 Order, it is ORDERED that the motion is

GRANTED. The Comi clarifies that its March 31, 2021 Order reflects an entry of partial summary

judgment for Defendants on Plaintiffs' deadly force claim, and Plaintiffs may proceed with their

remaining excessive force claim.



                                      FEB 1 5 2022
        Ordered this _ _ day of ---       ---
                                          -               -, 2022.
